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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                      :              CASE NO. 19-61728-LRC
                                            :
KURT GERARD RICHARDSON and                  :              CHAPTER 7
TARA RAKOSKE RICHARDSON,                    :
                                            :
         Debtors.                           :
                                            :


 MOTION FOR ORDER AUTHORIZING COMPROMISE AND SETTLEMENT WITH
         DEBTORS UNDER RULE 9019 OF THE FEDERAL RULES OF
                    BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy

estates (collectively, the “Bankruptcy Estate”) of Kurt Gerard Richardson (“Mr. Richardson”)

and Tara Rakoske Richardson (“Mrs. Richardson” and collectively with Mr. Richardson, the

“Richardsons” or “Debtors”), by and through the undersigned counsel, and files his Motion for

Order Authorizing Compromise and Settlement with Debtors under Rule 9019 of the Federal

Rules of Bankruptcy Procedure (the “Settlement Motion”).         In support of the Settlement

Motion, Trustee respectfully shows the Court as follows:

                                    Jurisdiction and Venue

         1.     This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought herein is Rule 9019 of the Federal Rules of Bankruptcy

Procedure. This Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).




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                                          Background

         2.    On July 30, 2019 (the “Petition Date”), the Richardsons filed a voluntary petition

for relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating

Chapter 7 Case No. 19-61728-LRC (the “Bankruptcy Case”).

         3.    Trustee was thereafter appointed the duly acting Chapter 7 trustee in the

Bankruptcy Case, and he remains in this role.

         4.    On the Petition Date, Mrs. Richardson was the owner of record of that certain real

property with a common address of 1648 Mercer Avenue, Atlanta (College Park), Fulton County,

Georgia 30337 (the “Property”).

         5.    Mrs. Richardson’s interest in the Property (the “Interest”) is property of the

Bankruptcy Estate. See 11 U.S.C. §§ 348 and 541 (2019).

         6.    Trustee obtained a title examination report for the Property dated January 13,

2020 (the “Title Report”). The Title Report reflects the following interests in the Property: (a) a

Security Deed (the “BankSouth Deed”) dated May 26, 2016 and recorded on May 31, 2016,

securing a loan in the original principal amount of $314,694.00 in favor Mortgage Electronic

Registration Systems, Inc. as nominee for BankSouth Mortgage Company, LLC (“BankSouth”);

(b) a Subordinate Deed to Secure Debt dated August 16, 2018 and recorded on September 20,

2018 securing a loan in the original principal amount of $15,067.77 in favor of GHFA

Affordable Housing, Inc.; and (c) a Subordinate Security Deed (the “HUD Deed”) dated July 16,

2019 and recorded on January 22, 2019 securing a loan in the original principal amount of

$64,034.41 in favor of U. S. Secretary of Housing and Urban Development (“HUD”).



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         7.     Upon information and belief, the loan from HUD secured through the HUD Deed

was used to pay down the loan secured through the BankSouth Deed.

         8.     Upon information and belief, the BankSouth Deed has been assigned to Midfirst

Bank, a Federally Chartered Savings Association (“Midfirst”).

         9.     Upon information and belief, on the Petition Date, the total of these encumbrances

against the Property was approximately $322,000.00.

         10.    As part of his investigation of property of the Bankruptcy Estate, based on a real

estate broker’s comparative marketing analysis, Trustee has estimated that the Property has a

value between $450,000.00 and $455,000.00.

         11.    On January 30, 2020, Trustee filed a complaint against HUD seeking, among

other things, to avoid any transfers (the “HUD Transfers”) arising out of the HUD Deed and

recover any Property interests (the “HUD Interests”) transferred through the HUD Transfers and

initiated the adversary proceeding styled as Hays v. U. S. Secretary of Housing and Urban

Development (Adv. Pro. No. 20-6019-LRC) (the “Adversary Proceeding”).

         12.    On May 12, 2020, the Bankruptcy Court entered an order [Doc. No. 10; Adv. Pro.

No. 20-6019-LRC] and judgment [Doc. No. 11; Adv. Pro. No. 20-6019-LRC] in favor of Trustee

and against HUD avoiding the HUD Transfers and returning the HUD Interests to Trustee in

favor of the Bankruptcy Estate.

         13.    As a result of Trustee’s judgment against HUD, Trustee estimates that the

unencumbered, non-exempt value of the Property is approximately $118,000.00 after accounting

for the costs of a sale.




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         14.   Rather than Trustee’s selling the Interest, which now includes the HUD Interests,

of the Bankruptcy Estate in the Property, the Richardsons would like to purchase the Interest

from the Bankruptcy Estate (the “Transfer Dispute”).

                                         The Settlement

         15.   Following negotiations, Trustee and the Richardsons (collectively, the “Parties”)

have reached an agreement to transfer the Interest to Mrs. Richardson by Trustee’s abandoning it

back to Mrs. Richardson following certain payments by the Richardsons. In this regard, the

Parties have entered into a Settlement Agreement (the “Settlement Agreement”). Trustee

attaches a copy of the Settlement Agreement as Exhibit “A” to this Settlement Motion.

Significant terms of the Settlement Agreement are as follows:1

                    a. The Richardsons shall pay a total of $115,000.00 (the “$115,000.00
                       Settlement Funds”) in good funds to Trustee in exchange for Trustee’s
                       abandoning the Interest to Mrs. Richardson in accordance with the
                       following schedule (the “Scheduled Payments”): (i) No less than
                       $50,000.00 (the “First Payment”) within five (5) business days of the
                       Settlement Approval Order becoming final; and (ii) The Remainder of the
                       Settlement Funds in 36 equal installments (the “Remaining Payments”),
                       on the first day of each month, beginning on first day of the month that
                       occurs after the First Payment. For the purposes of the Settlement
                       Agreement, the “Remainder of the Settlement Funds” shall mean
                       $115,000.00 less the amount of the First Payment.

               b.      The Interest of the Bankruptcy Estate in and to the Property shall be
                       deemed abandoned upon the later of: (a) Trustee’s receipt in full of the
                       $115,000.00 Settlement Funds from the Richardsons in good funds; or (b)
                       the Settlement Approval Order2 becoming final.

               c.      The Richardsons shall insure the Property to protect the Bankruptcy Estate
                       against loss, whether casualty or personal liability, until the later of: (a)


1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
2
       Capitalized terms not otherwise defined shall have the meanings ascribed to them in the
Settlement Agreement.

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                    Trustee’s receipt in full of the $115,000.00 Settlement Funds from the
                    Richardsons; or (b) the Settlement Approval Order becoming final.

             d.     The Richardsons shall pay all ad valorem real property taxes that accrue
                    against or as a result of the Property until the later of: (a) Trustee’s receipt
                    in full of the $115,000.00 Settlement Funds from the Richardsons; or (b)
                    the Settlement Approval Order becoming final.

             e.     The Richardsons shall pay all maintenance and repair expenses that arise
                    from or that are related to the Property until the later of: (a) Trustee’s
                    receipt in full of the $115,000.00 Settlement Funds from the Richardsons;
                    or (b) the Settlement Approval Order becoming final.

             f.     The Parties stipulate and agree that the Richardsons shall not have a claim
                    under Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for
                    or on account of payment of the $115,000.00 Settlement Funds, or for any
                    reason, and that neither the Richardsons nor any of their affiliates, agents,
                    principals, or subsidiaries shall receive a distribution from the Bankruptcy
                    Estate.

             g.     Effective upon the Settlement Approval Order becoming final, the
                    Richardsons shall waive any and all obligations that the Bankruptcy Estate
                    may otherwise have to pay to the Richardsons out of the $115,000.00
                    Settlement Funds on account of exemptions asserted by or on behalf of the
                    Richardsons, if any, in the Property, the Interest, or the $115,000.00
                    Settlement Funds.

             h.     If the Richardsons fail to pay timely the Scheduled Payments as set forth
                    in Section 2.2 of the Settlement Agreement, the Richardsons shall be
                    entitled to three, and only three, 5-day cure periods following notice (the
                    “Default Notice”) by Trustee to the Richardsons, in which Trustee shall
                    notify the Richardsons that they failed to make a Scheduled Payment and
                    which notice shall be given as set forth in Section 11 of the Settlement
                    Agreement. Following the Richardsons’ receipt, as set forth in Section 11
                    of the Settlement Agreement, of a Default Notice, the Richardsons shall
                    have five days to cure the non-payment (the “5-Day Cure Opportunity”)
                    of the Scheduled Payment by delivering the respective Scheduled Payment
                    to Trustee as set forth in Section 2.2 of the Settlement Agreement. If the
                    Richardsons: (a) fail to cure timely an unpaid Scheduled Payment
                    following one of their three 5-day Cure Opportunities, or (b) fail to pay
                    timely a Scheduled Payment after they have exhausted their three 5-day
                    Cure Opportunities, then:

                        i. Trustee shall be entitled to retain for the benefit of the Bankruptcy
                           Estate any Scheduled Payments the Richardsons have made to
                           Trustee; and


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                            ii. Trustee shall be entitled to, and the Richardsons shall consent to
                                Trustee’s selling the Property.

                                          Relief Requested

         16.    By this Settlement Motion, Trustee requests that the Court approve the Settlement

Agreement between the Parties.

                                           Basis for Relief

         17.    Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

         When a bankruptcy court decides whether to approve or disapprove a proposed
         settlement, it must consider:

         (a) The probability of success in the litigation; (b) the difficulties, if any, to be
         encountered in the matter of collection; (c) the complexity of the litigation
         involved, and the expense, inconvenience and delay necessarily attending it; (d)
         the paramount interest of the creditors and a proper deference to their reasonable
         views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).




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         18.    The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

         19.    The proposed settlement will allow Trustee to make a meaningful distribution to

the holders of timely filed general unsecured claims in this Bankruptcy Case and avoid the costs

and risks of marketing and selling the Property through a licensed real estate broker (and also

allow the Richardsons to keep their primary residence) and allow Trustee to avoid the costs and

delay in litigating with the Richardsons the extent of the Interest of the Bankruptcy Estate in the

Property.

         20.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Settlement Agreement.

         WHEREFORE, Trustee respectfully requests that the Court enter an Order (i) granting

this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to effectuate

the terms of the Settlement Agreement; and (iii) granting to the parties such other and further

relief as the Court deems just and appropriate.

         Respectfully submitted, this 29th day of December, 2020.

                                                        ARNALL GOLDEN GREGORY LLP
                                                        Attorneys for Trustee

                                                        By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                              Michael J. Bargar
Atlanta, GA 30363                                            Georgia Bar No. 645709
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                             EXHIBIT “A” FOLLOWS




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                                 CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Compromise and
Settlement with Debtors under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first
class United States mail on the following entities at the addresses stated:

Office of the U.S. Trustee
362 Richard B. Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, Georgia 30303

Evan Owens Durkovic
The Semrad Law Firm, LLC
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Kurt Gerard Richardson
1648 Mercer Ave
Atlanta, GA 30337

Tara Rakoske Richardson
1648 Mercer Ave
Atlanta, GA 30337


         This 29th day of December, 2020.


                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
                                                            michael.bargar@agg.com




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